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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

    UNITED STATES OF AMERICA                                    *
                                                                *
          v.                                                    *      CRIMINAL NO. SAG 23-0186
                                                                *
                                                                *
    MATTHEW HIGHTOWER,
                                                                *
                                                                *
                  Defendant.                                    *
                                                              ****

                CONSENT MOTION FOR ENTRY OF A PROTECTIVE ORDER

         Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure 1, the United States and

the Defendant jointly agree to the entry of a protective order that will allow for early discovery of

information to the defense and ensure the confidentiality of information regarding, and provide

privacy protections for, victims and witnesses.

         The parties conferred regarding the draft protective order proposed by the United States

and a copy is attached hereto.

                                                        Respectfully submitted,

                                                        Erek L. Barron
                                                        United States Attorney

                                               By:             /s/
                                                        Kim Y. Hagan
                                                        Aaron S.J. Zelinsky
                                                        Assistant United States Attorneys




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  Rule 16 (d), Federal Rules of Criminal Procedure, provides: Regulating Discovery. (1) Protective and Modifying
Orders. At any time the court may, for good cause, deny, restrict, or defer discovery or inspection, or grant other
appropriate relief. The court may permit a party to show good cause by a written statement that the court will inspect
ex parte. If relief is granted, the court must preserve the entire text of the party's statement under seal. (2) Failure to
Comply. If a party fails to comply with this rule, the court may: (A) order that party to permit the discovery or
inspection; specify its time, place, and manner; and prescribe other just terms and conditions; (B) grant a
continuance; (C) prohibit that party from introducing the undisclosed evidence; or (D) enter any other order that is
just under the circumstances.
